     Case 2:13-bk-25682-ER          Doc 136 Filed 10/11/13 Entered 10/11/13 12:50:16                     Desc
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 3                                                                            FILED & ENTERED
 4
                                                                                    OCT 11 2013
 5

 6                                                                             CLERK U.S. BANKRUPTCY COURT
                                                                               Central District of California
                                                                               BY gonzalez DEPUTY CLERK
 7

 8                                 UNITED STATES BANKRUPTCY COURT

 9                                  CENTRAL DISTRICT OF CALIFORNIA

10                                          LOS ANGELES DIVISION

11

12
     In re:                                                     Case No: 2:13-bk-25682-ER

13
     Miramar Brands Group, Inc.                                 Chapter: 11
                                      Debtor.
14                                                              ORDER DISMISSING CASE
15

16

17

18            On June 14, 2013, Miramar Brands Group, Inc. (“Debtor”) filed a voluntary petition under
19   Chapter 11. Based on the Court’s review of the case, and in light of the Court’s August 14, 2013 ruling
20   abstaining from considering five matters pursuant to 28 U.S.C. § 1334(c), the Court issued an Order to

21
     Show Cause why the Court should not dismiss the case pursuant to 11 U.S.C. § 305(a). On October 9,
     2013, the matter came on for hearing with appearances as set forth on the record.
22
              For those reasons as stated by the Court on the record and for those reasons set forth in the
23
     Court’s Tentative Ruling which is incorporated herein by this reference,
24
              It is hereby ORDERED that the case is dismissed with a 180-day bar to refilling in any chapter.
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         Date: October 11, 2013
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     Case 2:13-bk-25682-ER        Doc 136 Filed 10/11/13 Entered 10/11/13 12:50:16              Desc
                                    Main Document    Page 3 of 3

 1
                             NOTICE OF ENTERED ORDER AND SERVICE LIST
 2
     Notice is given by the court that a judgment or order entitled (specify) ORDER DISMISSING CASE
 3
     was entered on the date indicated as AEntered@ on the first page of this judgment or order and will be
 4   served in the manner indicated below:
 5

 6      I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (ANEF@) B Pursuant
        to controlling General Order(s) and Local Bankruptcy Rule(s), the foregoing document was served
 7      on the following person(s) by the court via NEF and hyperlink to the judgment or order. As of
        October 9, 2013, the following person(s) are currently on the Electronic Mail Notice List for this
 8
        bankruptcy case or adversary proceeding to receive NEF transmission at the email address(es)
 9      indicated below.

10
            Richard T Baum rickbaum@hotmail.com, rickbaum@hotmail.com
11
            Lawrence J Hilton lhilton@oneil-llp.com, ssimmons@oneil-llp.com;jsun@oneil-llp.com
12          Leslie R Horowitz lhorowitz@clarktrev.com
            John A Lapinski jlapinski@clarktrev.com
13          Melanie C Scott Melanie.green@usdoj.gov
            Dheeraj K Singhal dksinghal@dcdmlawgroup.com
14
            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
15          Hatty K Yip hatty.yip@usdoj.gov

16
                                                             Service information continued on attached page
17

18      II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this
        judgment or order was sent by U.S. Mail to the following person(s) and/or entity(ies) at the
19      address(es) indicated below:
20
                                                             Service information continued on attached page
21
        III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of
22      this judgment or order which bears an AEntered@ stamp, the party lodging the judgment or order will
23      serve a complete copy bearing an AEntered@ stamp by U.S. Mail, overnight mail, facsimile
        transmission or email and file a proof of service of the entered order on the following person(s)
24      and/or entity(ies) at the address(es), facsimile transmission number(s) and/or email address(es)
        indicated below:
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                                                             Service information continued on attached page
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